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                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION
 __________________________________________
                                            )
 DAVID ESLAVA, et al.,                      )
                                            )
 Plaintiffs,                                )
                                            )
 v.                                         ) CIVIL ACTION NO. 04-297-KD-B
                                            )
 GULF TELEPHONE COMPANY, INC.,             )
 et al.,                                    )
                                            )
 Defendants.                                )
 __________________________________________)

                                   ORDER AND FINAL JUDGMENT1

        (a)      Upon consideration of all documents filed in support of (i) Plaintiffs’ Motion for

 Final Approval of Class Action Settlement Agreement (the “Final Approval Motion”) and

 Motion for an Order Certifying a Settlement Class and Granting Preliminary Approval of a Class

 Settlement Agreement (“Preliminary Approval Motion”); (ii) Class Counsel’s Petition for

 Attorneys’ Fees, Reimbursement of Costs and Expenses (“Compensation Motion”) (collectively,

 the “Motions”) and (iii) all objections timely filed to granting the relief requested in the Motions;

        (b)      the Court having entered on September 17, 2007, its Findings and Order

 Preliminarily Certifying Settlement Class, Granting Preliminary Settlement Approval,

 Approving Form and Method of Notice, and Setting a Date and Time for Fairness Hearing on

 Final Approval (“Preliminary Approval Order”);

        (c)      the Court having received declarations attesting to the mailing of the Class Notice

 and the publication of the Summary Notice in accordance with the Preliminary Approval Order;

 as amended, and the Court having been advised that United States Trust Company, N.A., the

 Independent Fiduciary retained by the Parties to review the Settlement on behalf of the Plan, has
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      Italicized terms not otherwise deferred in this Order shall have the same meaning as ascribed to them in the
     Settlement Agreement.


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 determined that the Settlement is fair to the Plan; and

        (d)      a hearing having been held before this Court on November 16, 2007 (the

 “Fairness Hearing”) (i) to determine whether to grant the Final Approval Motion; (ii) to

 determine whether to grant the Compensation Motion; and (iii) to rule upon such other matters

 as the Court might deem appropriate,

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED AS FOLLOWS:

        1.       The Court has jurisdiction over the subject matter of this action, all members of

 the Settlement Class, and all Defendants pursuant to 29 U.S.C. § 1132(e).

        2.       In accordance with Federal Rule of Civil Procedure 23 and the requirements of

 due process, the Settlement Class has been given proper and adequate notice of: the Settlement

 Agreement2, the Fairness Hearing, and the Compensation Motion, such notice having been

 carried out in accordance with the Preliminary Approval Order. The notice, summary notice and

 notice methodology implemented pursuant to the Settlement Agreement and the Court’s

 Preliminary Approval Order as amended (a) constituted the best practicable notice; (b)

 constituted notice that was reasonably calculated, under the circumstances, to apprise members

 of the Settlement Class of the pendency of the litigation, their right to object to the Settlement,

 and their right to appear at the Fairness Hearing; (c) were reasonable and constituted due,

 adequate and sufficient notice to all persons entitled to notice; and (d) met all applicable

 requirements of the Federal Rules of Civil Procedure, and any other applicable law.

        3.       The Settlement Agreement in this action warrants final approval pursuant to

 Federal Rule of Civil Procedure 23(e)(1)(A) and (C) because it is fair, adequate, and reasonable
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      The parties filed in open Court on November 16, 2007 a Joint Motion to Amend Settlement Agreement (Doc.
     741) to amend and to clarify the provisions of Paragraph 8.1 of the Settlement Agreement. The Court has
     granted this motion. The parties agree and the Court finds that the change to the terms of the settlement is
     immaterial and that no further notice to the Settlement Class members is required. The term “Settlement
     Agreement” as used hereinafter refers to the Settlement Agreement as so modified.


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 to those it affects and in the public interest based upon (a) the likelihood of success on the merits

 weighed against the amount and form of relief offered in the Settlement; (b) the risks, expense,

 and delay of further litigation; (c) the judgment of experienced counsel who have competently

 evaluated the strength of their proofs; (d) the amount of discovery completed and the character

 of the evidence uncovered; (e) the fairness of the Settlement to the unnamed class members; (f)

 the number of objections to the Settlement Agreement by Settlement Class members and the lack

 of objection by the Independent Fiduciary; (g) the fact that the Settlement is the product of

 extensive arm’s length negotiations; and (h) the fact that this Settlement is consistent with the

 public interest. In re Combustion, Inc., 968 F. Supp., 111, 136 (W.D. La. 1997); Williams v.

 Vukovich, 720 F.2d 909 (6th Cir. 1983)).

        4.      The Final Approval Motion hereby is GRANTED, and the Settlement hereby is

 APPROVED as fair, reasonable, adequate, in the best interests of the Plan and Settlement Class

 members and in the public interest. The terms of the Settlement are hereby determined to be fair,

 reasonable and adequate, for the exclusive benefit of participants and beneficiaries of the Plan in

 compliance with ERISA. The Parties are directed to consummate the Settlement in accordance

 with the terms of the Settlement Agreement.

        5.      No members of the Settlement Class filed objections to the Settlement Agreement.

        6.      The Court determines that the Settlement Agreement was negotiated vigorously,

 in good faith, and at arm's-length, by the Named Plaintiffs and Class Counsel on behalf of the

 Plan and the Settlement Class members. The Court is aware that the Settlement was reached

 after three mediation sessions, which were presided over by a private mediator and a Magistrate

 Judge of this Court. The Court finds that the Named Plaintiffs have acted independently and that

 their interests are identical to the interests of the Plan and the Settlement Class members.




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        7.      The Parties shall make the payments, disbursements, and distributions called for

 in the Settlement Agreement.

        8.      The Court hereby approves the maintenance of this Action as a mandatory non-

 opt-out class action pursuant to Fed. R. Civ. P. 23(a) and 23(b)(1) and (b)(2). The Settlement

 Class consists of the following individuals:

                All persons who were participants in or beneficiaries of the Plan
                between January 1, 1999 and the date of the Preliminary Approval
                Order.

        9.      The Court finds that the prerequisites for a class action under Fed. R. Civ. P. 23

 have been satisfied in that:

                a.      The Settlement Class, consisting of more than four hundred members, is

 so numerous that joinder all of its members would be impracticable;

                b.      There are questions of fact and law common to the Settlement Class;

                c.      The Named Plaintiffs are members of the Settlement Class, and their

 claims are typical of the claims of the Settlement Class;

                d.      The Named Plaintiffs are suitable for appointment as representatives of the

 Settlement Class and have and will fairly and adequately protect the interests of the Settlement

 Class in that (I) the interests of Named Plaintiffs and the nature of their alleged claims are

 consistent with those of the members of the Settlement Class; (ii) there appear to be no conflicts

 between or among the Named Plaintiffs and the Settlement Class; and (iii) the Named Plaintiffs

 have retained qualified, reputable counsel who are experienced in the matters before the Court;

                e.      The prosecution of separate actions by individual members of the

 Settlement Class would create a risk of inconsistent or varying adjudications as to individual

 class members, that would establish incompatible standards of conduct for the parties opposing




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 the claims asserted in the Action;

                     f.       The prosecution of separate actions by individual members of the

 Settlement Class would create a risk of inconsistent or varying adjudications as to individual

 class members that would, as a practical matter, be dispositive of the interests of the other

 members not parties to the adjudications, or substantially impair or impede those persons’ ability

 to protect their interests;

                     g.       Defendants have acted or refused to act of grounds generally applicable to

 the Settlement Class members, thereby making appropriate final injunctive relief or

 corresponding declaratory relief with respect to the Settlement Class as a whole;

                     h.       The definition of the Settlement Class is sufficiently precise and proper

 notice was provided to the Settlement Class; and

                     i.       Class Counsel is appropriately qualified and suitable for appointment to

 represent the Settlement Class and Class Counsel has committed the necessary resources to

 represent the Settlement Class.

            10.      Having reviewed the record, and the evidence presented in support of the

 Compensation Motion, including, but not limited to, the declarations of Class Counsel, the Court

 finds that the Settlement was negotiated at arm’s length by experienced counsel, who were fully

 informed of the facts and circumstances, and strengths and weaknesses of their respective

 positions. The Settlement was not reached until after the parties had engaged in extensive

 discovery negotiations directly and with the assistance of professional and court mediators.

 Class Counsel and counsel for Defendants, thus, were well-positioned to evaluate the benefits of

 the Settlement, taking into account the expense, risk, and uncertainty of protracted litigation over

 numerous questions of fact and law.3
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     Class Counsels’ attorney fee request will be addressed by separate order.


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        11.     The Court finds that the payment of $10,000 to David Eslava in settlement of his

 individual claim in Count I is fair and reasonable in light of his claim and his contribution to the

 litigation on behalf of the Settlement Class, including preparing for and attending his deposition.

 Accordingly, David Eslava is awarded $10,000 payable in accordance with the Settlement

 Agreement.

        12.     The Court further finds:

                (a)     That the payments contemplated under the Settlement Agreement to the

 ESOP are restorative payments within the meaning of Revenue Ruling 2002-45 and shall be

 treated as such for all purposes under the Plan.

                (b)     The Independent Fiduciary and the process undertaken by the

 Independent Fiduciary to determine the fairness of the Settlement to the Plan, meet the

 requirements of DOL Class Exemption 2003-39, 68 Fed. Reg. 75632 (Dec. 31, 2003).

                (c)     The consummation of the Settlement in accordance with its terms will not

 result in a non-exempt prohibited transaction within the meaning of ERISA §§ 406(a) or (b), 29

 U.S.C. §§ 1106(a) and (b).

        13.     Without further order of the Court, the parties may agree to reasonable extensions

 of time to carry out any of the provisions of the Settlement Agreement.

        14.     Upon the Effective Date, the Named Plaintiffs, on behalf of themselves, the Plan,

 and the Settlement Class, are hereby deemed to have, and by operation of this Final Order shall

 have, fully, finally, and forever released, relinquished, and discharged, and shall forever be

 enjoined from prosecution of, all of the Defendants, their Affiliates, and any Representative of

 the foregoing, any Person who provided services to any of the foregoing or the Plan, and any

 Person that at any time served as a named or functional fiduciary or a trustee or administrative




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 agent of the Plan, as well as any Representatives of any such Person, and the Insurers (the

 “Released Parties”), from any and all actual or potential claims, actions, causes of action,

 demands, obligations, liabilities, attorneys’ fees, and costs whether arising under local, state, or

 federal law, whether by statute, contract, common law, or equity, whether brought in an

 individual, representative, or any other capacity, whether known or unknown, suspected or

 unsuspected, asserted or unasserted, foreseen or unforeseen, actual or contingent, liquidated or

 unliquidated that have been, could have been, or could be brought by the Named Plaintiffs, by or

 on behalf of the Plan, and/or by any member of the Settlement Class, and arise out of or are

 related in any way to the acts, omissions, facts, matters, transactions, or occurrences that have

 been alleged or referred to at any time in the Action (whether or not dismissed), including but not

 limited to, claims based on: (a) breach of ERISA fiduciary duties to the Plan, to the Named

 Plaintiffs, to the Settlement Class, and to the other participants and beneficiaries of the Plan in

 connection with the acquisition, disposition, or retention of GCSI common stock and/or any

 purchase rights or options appurtenant thereto whether contingent or otherwise, by the Plan; (b)

 the establishment, maintenance, administration, investment, and/or disbursement of funds held in

 the Escrow; (c) failure to provide information to the Plan’s fiduciaries or the Plan’s participants

 and beneficiaries regarding GCSI common stock or any transaction or event referred to directly

 or indirectly in the Complaint; (d) failure to appoint, remove and/or adequately monitor the

 Plan’s fiduciaries; (e) claims that would be barred by principles of res judicata had the claims

 asserted in the Action been fully litigated and resulted in a final judgment or order; and (f) the

 method and manner of the distribution of the Settlement Fund (collectively, “Released Claims”).

 The Named Plaintiffs and each member of the Settlement Class are, therefore, forever barred




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 from asserting any Released Claim against any Released Party in any capacity, derivative or

 otherwise, on behalf of themselves or the Plan.

           15.   By this Final Order, each Defendant releases and forever discharges each and

 every other Defendant and each Defendant’s Affiliates from any and all claims relating to the

 Released Claims, including any and all claims for contribution or indemnification for such

 claims.

           16.   The releases set forth in Paragraphs 14-15 of this Order and Judgment (the

 “Releases”) are not intended to include the release of any rights or duties arising out of the

 Settlement Agreement, including the express warranties and covenants in this Settlement

 Agreement.

           The Releases ordered herein shall be effective as a bar to any and all currently

 unsuspected, unknown, or partially known claims within the scope of their express terms and

 provisions. Named Plaintiffs assume for themselves, and on behalf of the Settlement Class and

 on behalf of the Plan, the risk of his, her or its respective subsequent discovery or understanding

 of any matter, fact, or law, that if now known or understood, would in any respect have affected

 his, her, or its entering into this Settlement Agreement.

           17.   The settlement and dismissal of the Action shall not release, bar or waive any

 ERISA section 502(a)(1)(B) claim for vested benefits by any Plan participant or beneficiary

 where such claims are unrelated to any matter asserted in this Action.

           18.   Without affecting the finality of this Order, jurisdiction is hereby retained over

 this Action and the Parties, the Plan, and the Settlement Class members for all matters relating to

 the Action, including (without limitation) the administration, interpretation, effectuation or

 enforcement of the Settlement Agreement and this Final Order and Judgment, and including any




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 application for fees and expenses incurred in connection with administering and distributing the

 Settlement proceeds to the members of the Settlement Class.

        19.     Upon this Order becoming Final, all counts asserted in the Second Amended and

 Restated Complaint will be dismissed with prejudice without further order of the Court pursuant

 to the terms of the Settlement. In addition, the Named Plaintiffs and the Settlement Class and the

 Plan shall be deemed to have, and by operation of this Final Order and Judgment shall have,

 fully, finally, and forever released and are forever barred from the prosecution of, any and all

 Released Claims.     Class Counsel have represented that all ancillary proceedings in other

 jurisdictions including Plaintiffs’ motion for sanctions in the United States District Court for the

 District of Columbia, have been dismissed with prejudice. In the event that the Settlement

 Agreement is terminated in accordance with its terms, however: (a) this Judgment shall be null

 and void and shall be vacated nunc pro tunc, and (b) this action shall proceed as provided in the

 Settlement Agreement.

        20.     There is no just reason for delay in the entry of this Final Order and Judgment

 and immediate entry by the Clerk of the Court is expressly directed.

        IT IS SO ORDERED, ADJUDGED AND DECREED.

        DONE this the 16th day of November 2007.

                                                      /s/ Kristi K. DuBose
                                                      KRISTI K. DuBOSE
                                                      UNITED STATES DISTRICT JUDGE




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